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                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF LOUISIANA
____________________________________
                                     )
MICHAEL McCLANAHAN, et al.           )
                                     )
                  Plaintiffs,        )
      v.                             )  Civil Action No. 17-cv-01720-JWD-RLB
                                     )
SCOTT WILSON, et al.                 )
                                     )
                  Defendants.        )
____________________________________)




   PLAINTIFFS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW

                           OCTOBER 19, 2020 TRIAL




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                      Pursuant to Federal Rule of Civil Procedure 52(a), Plaintiff proposes the Court enter

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              2020.

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                             I.       INTRODUCTION AND PROCEDURAL HISTORY

       1.         On July 5, 2016, Baton Rouge police officers shot and killed Alton Sterling.

       2.         On May 3, 2017, the U.S. Department of Justice announced that it was closing its

investigation into the killing of Alton Sterling, and that it would not be bringing charges against

the involved officers.1 The State of Louisiana, however, had yet to make a decision regarding

criminal charges against the officers.

       3.         In May 2017, the government of Baton Rouge had not resolved the issue of its

response. The officers who were involved in the killing of Alton Sterling were on paid leave,2 and

had not been subject to any sort of formal disciplinary action.

       4.         The Baton Rouge Metro Council was scheduled to hold a meeting on May 10, 2017.

Some of the agenda items were related to the issue of officer-involved shootings. Others were not,

and involved the business-as-usual of the City.

       5.         A number of community members, including Plaintiffs, decided to go to the Metro

Council and voice their viewpoint. In their view, the Baton Rouge government should not return

to business-as-usual without first resolving how to respond to the killing of a member of the

community by BRPD officers.

         6.       On May 10, 2017 Baton Rouge Mayor Pro-Tempore Scott Wilson was presiding

over a Metro-Council Meeting.3

         7.       Members of the public are typically allotted three minutes to comment on each

agenda item at Baton Rouge Metro-Council Meetings.




1
  R. Doc. 15-2 (Answer) at ¶ 25. See also https://www.justice.gov/opa/pr/federal-officials-close-investigation-death-
alton-sterling
2
  R. Doc. 15-2 at ¶ 26 (admitting that “Officers Blane Salamoni and Howie Lake were on paid leave on paid
administrative leave at the time of the events alleged in the petition.”)
3
  Defendants’ Ex. 1 at 2:14.


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       8.       The City of Baton Rouge has a rule requiring speakers to remain on topic during

public comment. But the rule is not consistently enforced - the Baton Rouge Mayor Pro-Tempore

frequently allows speakers to finish their time even when they wander far off the agenda topic or

explicitly talk about other agenda items.

       9.       At trial, Plaintiffs provided six examples of off-topic speakers who were allowed

to continue speaking without the Mayor Pro-Tem ordering them removed by police. These six are

summarized in Table 2, below.

       10.      By contrast, when speakers mentioned Alton Sterling, criticized the police, or gave

any indication that they intended to speak on those topics, Mr. Wilson immediately ordered police

to remove them from the podium and from the Meeting Room.

       11.      Specifically, on May 10, 2017, Scott Wilson ordered police to remove six citizens

from the May 10, 2017 Metro-Council Meeting as soon as they said the words “Alton Sterling,”

“Chief Dabadie,” or “police department” – or gave any indication that they intended to speak on

those topics.

       12.      Six weeks later, on June 28, 2017, Scott Wilson ordered police to remove another

person from public comment as soon as he mentioned Alton Sterling. This person, and the six

removed on May 10, are summarized in Table 1, below.

       13.      On December 14, 2017, this lawsuit was filed on behalf of Plaintiffs Michael

McClanahan, Gary Chambers, and Eugene Collins – three of the speakers Scott Wilson ordered

removed on May 10, 2017. Plaintiffs seek a declaration from this Court that Scott Wilson’s

behavior of silencing the Plaintiffs based on the viewpoint expressed violated the First Amendment

to the United States Constitution and the Louisiana State Constitution.




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                   14.   To enforce these rights afforded by the United States Constitution, Plaintiffs filed

          suit pursuant to 42 U.S.C. § 1983, for declaratory relief against Scott Wilson’s viewpoint

          discrimination and racial discrimination.

                   15.   Plaintiffs also seek to recover all their attorneys’ fees, costs and expenses incurred

          in this action and any other relief that this Court may order.

          Table 1:       Summary of Evidence: Scott Wilson ordered seven individuals removed after
                         they mentioned Alton Sterling or criticized the police.


Date          Item       Speaker       Agenda Item Topic             Speaker Discusses                 Expelled? Ex.
                                                                                                                 No.
5/10/17       50         Michael    Settlement of sewer back-up      “on July the fifth, 2016,         Yes       D’s 2
                         McClanahan claim                            Alton Sterling was killed. . .”

5/10/17       51         Gary          Settlement of sewer back-up   “Police department. . . ”         Yes        D’s 3
                         Chambers      claim

5/10/17       60         Eugene        H.B. 276, about officer       “I oppose this motion             Yes        D’s 5
                         Collins       incident investigations.      because on July 5th -”

5/10/17       60         Coby          H.B. 276, about officer       Alton Sterling, and fact that     Yes        D’s 5
                         Weaver        incident investigations.      “two black men” removed.

5/10/17       60         Sydney        H.B. 276, about officer       Termination of Chief              Yes        D’s 5
                         Epps          incident investigations.      Dabadie

5/10/17       60         Lynne         H.B. 276, about officer       Asks for officers to be fired.    Yes        D’s 5
                         Espinoza      incident investigations.

6/28/17       56         Arthur Reed   Settlement of insurance       Alton Sterling                    Yes        Pl’s 22
                                       claim




                                                             7
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       Table 2:        Summary of Evidence: Six individuals who spoke completely off-topic – but
                       did not mention Alton Sterling or criticize the police – and were not removed.
Date      Item        Speaker        Agenda Item Topic          Speaker Discusses               Expelled? Ex. No.
9/27/2017 76          Phillip        Office of Community        Only discusses previous item.   No.       Pl’s 9
                      Lillard        Development positions      “I’m against item 76 because
                                                                the other item shouldn’t have
                                                                passed.”
6/14/2017 66          Janice Weber   Endeavor with Council on   Discusses next item, a          No.         Pl’s 10
                                     Aging                      millage.

6/14/2017 66          Dan Weber      Endeavor with Council on   Discusses next item, a          No.         Pl’s 11
                                     Aging                      millage.

8/23/2017 139         Don Ortega     Moving the Baton Rouge     Complaints about his former     No.         Pl’s 12
                                     Zoo                        job with BREC.

8/23/2017 101         Russell Kelly Support for La. DOJ         Team training for Metro         No.         Pl’s 13
                                    investigation into Alton    Council.
                                    Sterling shooting.

5/14/2014 13Z/13Y Jim Mora           Annexation of St. George   Reads Dr. Seuss book cover      No.         Pl’s 14
                                                                to cover.



                                           II.     PARTIES TO THE TRIAL

       A.       Plaintiffs


                16.     Plaintiffs are Baton Rouge residents and Black community leaders Michael

       McClanahan, Gary Chambers, and Eugene Collins, all of whom Scott Wilson ordered removed

       from the Metro-Council Meeting on May 10, 2017.

                17.    On May 10, 2017, Michael McClanahan was the President of the National

       Association for the Advancement of Colored People (NAACP) Baton Rouge Branch. Scott Wilson

       ordered police officers to “take him out” less than one second after Mr. McClanahan said the words

       “Alton Sterling.”

                18.    Gary Chambers is the Editor-In-Chief of the Rouge Collection, a Baton Rouge-

       based and Black-owned media platform. Mr. Chambers was at the microphone for eight seconds



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when he mentioned the phrase “police department” and Scott Wilson immediately ordered the

police to take him out.

           19.     Eugene Collins is the Director of Prevention for the HIV/AIDS Alliance for Region

Two, Inc. (HAART). He is now the President of the National Association for the Advancement of

Colored People (NAACP) Baton Rouge Branch. Mr. Collins was at the podium for only 2.5

seconds, and had barely begun to speak, when Scott Wilson ordered police to “take him out.” An

audience member cried out, “he hadn’t even started!”

B.         Defendants

           20.     Scott Wilson is a member of the Baton-Rouge Metro Council. On January 2, 2017,

Mr. Wilson was elected by his peers to be Mayor Pro-Tempore of the Metro Council. As Mayor

Pro-Tempore, Mr. Wilson runs the council meetings. He is sued in his official capacity.

           21.     The City of Baton Rouge is a political subdivision of the State of Louisiana. The

city’s governing authority is consolidated with the government of East Baton Rouge Parish.


                                             III.     FINDINGS OF FACT

B.         Scott Wilson Directed Police to Remove Citizens from Metro-Council Meetings When
           They Mentioned Alton Sterling, or Criticized the Police, or Scott Wilson Thought
           They Were Going to Do So.

           i.      On May 10, 2017, Scott Wilson interrupted Michael McClanahan within 7
                   seconds and had Michael McClanahan removed from the Meeting Room
                   when he mentioned Alton Sterling.

           22.     At a Metro-Council meeting on May 10, 2017, Plaintiff Michael McClanahan

approached the podium to provide public comment. Defendant Scott Wilson was presiding over

the meeting at the time.4 Mr. McClanahan approached the podium during discussion of Item 50.

The topic of Item 50 was:


4
    Defendants’ Ex. 2 (Full Video of May 10, 2017, Item 50).


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           Authorizing settlement of the claim of Glen Boudreaux for damages resulting from
           a sewer back-up in the claimant’s home, for a total amount of $25,238.13; which
           amount shall be paid from the account designated "Insurance–General Liability"
           (012.4630000.644100).5

           23.      The screengrab below from Defendants’ Exhibit 2, the video of the May 10, 2017

meeting, Item 50, shows Mr. McClanahan standing at the podium:




         24.        Michael McClanahan approached the podium to make comment. In a low, calm

voice, he had the following exchange with Scott Wilson:

         Mr. McClanahan:           Good afternoon, ladies and gentlemen of the council. Mike
                                   McClanahan, president of East Baton Rouge NAACP. I’m
                                   speaking against the proposed item on the agenda today as a
                                   citizen of this community. I believe –6
         Mr. Wilson:               Speaking on what? We got an item here about a sewer



5
    Plaintiffs’ Ex. 15 (May 10, 2017 Agenda) at page 7.
6
    Defendants’ Ex. 2 (Full Video of May 10, 2017, Item 50) at 00:26-00:43.


                                                         10
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                                backup, item 50, that’s what we’re talking about.7
      Mr. McClanahan:           I’m going to tell you why I oppose that. You all haven’t
                                heard anything yet. You can’t just oppose something you
                                haven’t heard. Give me an opportunity to speak, and you can
                                rebut, right? That’s how it works, doesn’t it?
      Mr. Wilson:               No, not really.
      Mr. McClanahan:           Well, it should work like that. If you all choose . . .
      Mr. Wilson:               I’m not going to warn you about it. You can either talk on the
                                item or you can leave.
      Mr. McClanahan:           I believe it is my constitutional right to express why I oppose
                                the sewer item because on July the fifth, 2016, Alton Sterling
                                was killed . . .8
      Mr. Wilson:                John, please take him out. Thank you, sir.9
      Mr. McClanahan:           . . . and your office continued to conduct business as usual.
                                Since that time, the City of Baton Rouge has continued to
                                conduct business – and I oppose this because that is not right.


        25.      Scott Wilson interrupted Mr. McClanahan within 7 seconds, before Mr.

McClanahan stated why he opposed the agenda item. At that time, Mr. McClanahan was not

speaking off the agenda item topic as he had not even reached the topic of his comment.10

        26.      Mr. McClanahan was interrupted with verbal warnings while he was at the podium

before he could finish his statement to explain why he opposed the agenda item.11

        27.      Scott Wilson ordered Michael McClanahan removed less than one second after he

heard the words “Alton Sterling.”12 Mr. McClanahan had been at the podium for less than a

minute.13


7
  Defendants’ Ex. 2 at 00:43.
8
  Defendants’ Ex. 2. Mr. McClanahan says “Alton Sterling” at 1:18.
9
  Defendants’ Ex. 2. Mr. Wilson begins his order to remove Mr. McClanahan at 1:19.
10
   Compare Plaintiffs’ Ex. 15 (May 10, 2017 Agenda) at page 7, with Defendants’ Ex. 2.
11
   Defendants’ Ex. 2.
12
   Defendants’ Ex. 2. Mr. McClanahan says “Alton Sterling” at 1:18. Mr. Wilson begins his order to remove Mr.
McClanahan at 1:19.
13
   Defendants’ Ex. 2.


                                                       11
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        28.      Two plainclothes police officers removed the microphone from Mr. McClanahan,

grabbed him by the arm, and took him away from the podium and out of the room.14

ii.     On May 10, 2017, Scott Wilson had Gary Chambers removed from the Meeting
        Room the moment Mr. Chambers said the phrase “police department.”

        29.      At a Metro-Council meeting on May 10, 2017, community-member Gary

Chambers approached the podium to provide public comment. Defendant Scott Wilson was

presiding over the meeting at the time.15 Mr. Chambers approached the podium during discussion

of Item 51. The topic of Item 51 was:

        Authorizing settlement of the claim of Cornel Hubert for damages resulting from a sewer
        back-up in the claimant’s rental unit, for a total amount of $22,400.03; which amount shall
        be paid from the account designated "Insurance –General Liability"
        (012.4630000.644100).16

        30.      The screengrab below from Defendants’ Exhibit 3, the video of the May 10, 2017

meeting, Item 51, shows Mr. Chambers standing at the podium:




14
   Defendants’ Ex. 2.
15
   Defendants’ Ex. 3 (Full Video of May 10, 2017, Item 51).
16
   Plaintiffs’ Ex. 15 (May 10, 2017 Agenda) at page 7.


                                                       12
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      31.        Gary Chambers approached the podium for public comment and had the

following exchange with Scott Wilson:

        Mr. Chambers:             So you guys are gonna rob me of my constitutional rights to say
                                  what I believe needs to be said…17
        Mr. Wilson:               You can speak on the item or you can leave.18
        Mr. Chambers:             . . . and have the police department…
        Mr. Wilson:               Johnny, would you please take him out. Take him.
        Mr. Chambers:             … who you pay for to escort the tax-paying citizens of this
                                  community out. I’m not going to let him – I have three minutes on
                                  the clock.
        Mr. Wilson:               No, but not on this item.
        Mr. Chambers:             Again I say, Alton Sterling was murdered on July the fifth. Scott
                                  Wilson you are a coward for putting people out of this room. They
                                  have a right to speak out. They have a right to speak out. And you
                                  are a coward, sir.
      32.        Scott Wilson interrupted Mr. Chambers with a verbal warning within 4 seconds,

before Mr. Chambers could finish his introductory statement regarding what it was he believed

needed to be said.19 At that time, Mr. Chambers was not speaking off the agenda item topic as he

had not even reached the topic of his comment.20

      33.        Scott Wilson ordered Gary Chambers removed immediately after he heard the

words, “police department.”21 Gary Chambers was only at the podium for eight seconds before

Scott Wilson ordered him “taken out.”22

      34.        The police removed Mr. Chambers from the building and arrested him for



17
   Defendants’ Ex. 3 (Full Video of May 10, 2017, Item 51) at 00:19.
18
   Defendants’ Ex. 3. at 00:23.
19
   Defendants’ Ex. 3.
20
   Compare Plaintiff’s Ex. 15 (May 10, 2017 Agenda) at page 7, with Defendants’ Ex. 3.
21
   Defendants’ Ex. 3.
22
   Defendants’ Ex. 3.


                                                       13
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disturbing the peace and resisting arrest.23

iii.    On May 10, 2017, Scott Wilson had Eugene Collins removed from the Meeting
        Room after only two-and-a-half seconds – and before Collins began his comment.

        35.      At a Metro-Council meeting on May 10, 2017, community-member Eugene Collins

approached the podium to provide public comment. Defendant Scott Wilson was presiding over

the meeting at the time.24 Mr. Collins approached the podium during discussion of Item 60. The

topic of Item 60 was:

        Expressing the opposition of the Metropolitan Council to House Bill 276 filed in
        the 2017 Session while under officer involved incident investigations.25

        36.      The screengrab below from Defendants’ Exhibit 5, the video of the May 10, 2017

meeting, Item 60, shows Mr. Collins standing at the podium:




23
   R. Doc. 15-2 (Answer) at ¶ 35 (admitting that “The police removed Gary from the building and arrested him for
disturbing the peace and resisting arrest.”)
24
   Defendants’ Ex. 5 (Full Video of May 10, 2017, Item 60).
25
   Plaintiff’s Ex. 15 (May 10, 2017 Agenda) at page 8.


                                                        14
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         37.      Agenda Item 60 was directly related to the Alton Sterling killing, because the Alton

Sterling killing was the “driving force” behind House Bill 276. The bill specified how long police

officers would have to hire an attorney before they are questioned for an incident involving

shooting and seriously injuring or killing someone. It had originally contained a provision about

how long an officer should be paid and not paid while on administrative leave for a shooting – a

issue of community concern about the officers involved in the killing of Alton Sterling.

         38.      Eugene Collins only got as far as “I oppose this motion because on July….” before

Scott Wilson ordered the police to “take him out.”26

         39.      A member of the audience cried out, “He hadn’t even started!”27

         40.      Scott Wilson only allowed Mr. Collins to speak for 2.5 seconds before cutting him

off and expelling him from the chamber.28 Scott Wilson did not give Mr. Collins any verbal

warning.29 Mr. Wilson silenced him even though Mr. Collins intended to voice a viewpoint directly

regarding Agenda Item 60.

         41.      A police officer removed Mr. Collins from the podium and took him out of the

room.30

iv.      On May 10, 2017, Scott Wilson allowed Coby Weaver to remain at the podium for
         two minutes until she pointed out that he was treating her differently than Black
         citizens.

         42.      At a Metro-Council meeting on May 10, 2017, community-member Coby Weaver

approached the podium to provide public comment. Defendant Scott Wilson was presiding over




26
   Defendants’ Ex. 5 at 4:28.
27
   Defendants’ Ex. 5.
28
   Defendants’ Ex. 5 at 4:30.
29
   Defendants’ Ex. 5.
30
   Defendants’ Ex. 5.


                                                   15
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the meeting at the time.31 Ms. Weaver approached the podium during discussion of Item 60. The

topic of Item 60 was:

        Expressing the opposition of the Metropolitan Council to House Bill 276 filed in
        the 2017 Session while under officer involved incident investigations.32

        43.      The screengrab below from Defendants’ Exhibit 5, the video of the May 10, 2017

meeting, Item 60, shows Ms. Weaver standing at the podium:




      44.        Coby Weaver had the following exchange with Scott Wilson:

        Ms. Weaver:               Just like the lady before me said, as a citizen in Baton Rouge, I am
                                  extremely upset by the culture not only of the police but with
                                  everyone sitting here today and allowing this culture of hate and
                                  distrust to continue to breed while you guys sit here and do
                                  nothing.…33




31
   Defendants’ Ex. 5 (Full Video of May 10, 2017, Item 60).
32
   Plaintiff’s Ex. 15 (May 10, 2017 Agenda) at page 8.
33
   Defendants’ Ex. 5 (Full Video of May 10, 2017, Item 60) at 1:19. Ms. Weaver continued for 17 seconds before
Defendant Scott Wilson interrupted her to give a verbal warning.


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        Mr. Wilson:               Please stick to the topic of the item.34
        Ms. Weaver:               I oppose this item because I oppose you guys not acting upon
                                  anything before taking into consideration what you need to do in
                                  order to protect this city and its citizens. While continuing to push
                                  forward other items and continue to waste your time while not
                                  addressing Alton Sterling and not addressing the police.35

        Mr. Wilson:               We’re not talking about Alton Sterling. We’re talking about this
                                  item right here.36

        Ms. Weaver:               While not addressing Alton Sterling and not addressing what has
                                  happened and continuing to push forward with other items, you
                                  guys are ignoring your citizens, and you guys are ignoring the
                                  people who voted for you and put you in power. You guys need to
                                  stand up for your people, for all of the people in Baton Rouge and
                                  you guys need to go ahead and make people be held accountable.
                                  You guys have a lot of power and you need to use it for your
                                  citizens. Also I love how I have not been removed from this entire
                                  place. I also like how I was not violently removed from standing up
                                  here like the two men before me who stood and spoke. I said the
                                  same things. As soon as they said, two lack men said, the words
                                  Alton Sterling, July 5th. You guys violently grabbed them and
                                  removed them from this courtroom.37

        Mr. Wilson:               [indiscernible] Johnny will you help her out please?38

        45.      Scott Wilson gave Ms. Weaver two verbal warnings, but allowed her to continue

speaking.39

        46.      Scott Wilson allowed Ms. Weaver to remain at the podium for two minutes, while

Ms. Weaver spoke on the same topic as Plaintiffs, before ordering her removed.




34
   Defendants’ Ex. 5 at 1:36.
35
   Defendants’ Ex. 5 at 1:44. After the first warning, Scott Wilson allowed Ms. Weaver to continue speaking for
another 16 seconds.
36
   Defendants’ Ex. 5 at 2:01.
37
   Defendants’ Ex. 5 at 2:07. After the second warning, Scott Wilson allows Ms. Weaver to continue speaking one
full minute.
38
   Defendants’ Ex. 5 at 3:00.
39
   Defendants’ Ex. 5.


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         47.     As soon as Ms. Weaver, a White woman, verbally recognized that she was being

treated differently than Plaintiffs, all Black men, Defendant Scott Wilson directed police to remove

her.40

         48.     A police officer removed Ms. Weaver from the podium and took her out of the

room.41

v.       On May 10, 2017, Scott Wilson had Sydney Epps removed from the Meeting Room
         when she called for the firing of the Police Chief and two Police Officers.

         49.     At a Metro-Council meeting on May 10, 2017, community-member Sydney Epps

approached the podium to provide public comment. Defendant Scott Wilson was presiding over

the meeting at the time.42 Ms. Epps approached the podium during discussion of Item 60. The

topic of Item 60 was:

         Expressing the opposition of the Metropolitan Council to House Bill 276 filed in
         the 2017 Session while under officer involved incident investigations.43

         50.     The screengrab below from Defendants’ Exhibit 5, the video of the May 10, 2017

meeting, Item 60, shows Ms. Epps standing at the podium:




40
   Defendants’ Ex. 5 at 3:00.
41
   Defendants’ Ex. 5.
42
   Defendants’ Ex. 5 (Full Video of May 10, 2017, Item 60).
43
   Plaintiff’s Ex. 15 (May 10, 2017 Agenda) at page 8.


                                                       18
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        51.      Sydney Epps began her comment by stating, “I moved here immediately after the

Alton Sterling shooting and what it relates to with the opposition of the bill that is in front of us it

that we really need to call for the immediate termination of Baton Rouge Chief of Police Carl

Dabadie as well as the officers Blane Salamoni and Howie Lake.”44 Defendant Scott Wilson

immediately orders that she be expelled from the room, “Johnny, would you please help her out

please.”45

        52.      Defendant Scott Wilson did not give Ms. Epps any verbal warning.46

        53.      When Ms. Epps called for the firing of the Police Chief and two Police Officers

responsible for the death of Alton Sterling, Defendant Scott Wilson immediately and without

warning directed that Ms. Epps be removed from the podium and taken out of the room by police.47




44
   Defendants’ Ex. 5 (Full Video of May 10, 2017, Item 60) at 3:33.
45
   Defendants’ Ex. 5 at 3:47.
46
   Defendants’ Ex. 5.
47
   Defendants’ Ex. 5.


                                                        19
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        54. Ms. Epps was removed from the podium and taken out of the Meeting Room by

police.48

vi.     On May 10, 2017, Scott Wilson had Lynne Espinoza removed from the Meeting Room
        as soon as she called for the firing of the Police Officers responsible for the death of
        Alton Sterling.

        55.      At a Metro-Council meeting on May 10, 2017, community-member Lynne

Espinoza approached the podium to provide public comment. Defendant Scott Wilson was

presiding over the meeting at the time.49 Ms. Espinoza approached the podium during discussion

of Item 60. The topic of Item 60 was:

        Expressing the opposition of the Metropolitan Council to House Bill 276 filed in
        the 2017 Session while under officer involved incident investigations.50

        56.      The screengrab below from Defendants’ Exhibit 5, the video of the May 10, 2017

meeting, Item 60, shows Ms. Espinoza standing at the podium:




48
   Defendants’ Ex. 5.
49
   Defendants’ Ex. 5 (Full Video of May 10, 2017, Item 60).
50
   Plaintiff’s Ex. 15 (May 10, 2017 Agenda) at page 8.


                                                       20
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         57.      Lynne Espinoza began her comment by stating, “I like many people before me am

here to speak to my Metro Council who I voted and elected to have here, and ask them to hear

their citizens when we tell you that we feel hurt and we feel disrespected. We feel like we are not

safe in this city and we are telling you concrete things you can do to make us feel safe in this city.

We would like the officers involved to be fired because they do not protect us.”51 As soon as Ms.

Espinoza called for the firing of the police officers, Defendant Scott Wilson ordered a police officer

to remove her from the Meeting Room, “We’re not talking about the officers involved. Johnny,

please.”52

         58.      Defendant Scott Wilson did not give Ms. Espinoza any verbal warning.53

         59.      When Ms. Espinoza called for the firing of the two Police Officers responsible for

the death of Alton Sterling, Defendant Scott Wilson immediately and without warning directed

that Ms. Espinoza be removed from the podium and taken out of the room by police.54

         60.      Ms. Espinoza was removed from the podium and taken out of the Meeting Room

by police.55

vii.     On June 28, 2017, Scott Wilson had Arthur Reed removed from the Meeting Room
         after less than five seconds.

         61.      At a Metro-Council meeting on June 28, 2017, community-member Arthur Reed

approached the podium to provide public comment. Defendant Scott Wilson was presiding over

the meeting at the time.56 Mr. Reed approached the podium during discussion of Item 56. The

topic of Item 56 was:



51
   Defendants’ Ex. 5 at 4:51.
52
   Defendants’ Ex. 5 at 5:12.
53
   Defendants’ Ex. 5.
54
   Defendants’ Ex. 5.
55
   Defendants’ Ex. 5.
56
   Plaintiffs’ Ex. 22 (Full Video of June 28, 2017, Item 56).


                                                          21
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         Authorizing settlement of the claim of Liberty Mutual Insurance on behalf of
         American Fire & Casualty Company as subrogee of Billy Heroman’s Flowerland
         for damages resulting from an auto accident, in the amount of $14,590.63. Amount
         shall be paid from the account designated "Insurance - Auto Liability"
         (012.4630000.644200). *This matter may be discussed in executive session..57

         62.      The screengrab below from Plaintiffs’ Exhibit 22, the full video of the June 28,

2017 meeting, Item 56, shows Mr. Reed standing at the podium:




         63.      When Arthur Reed approached the podium, he began, “Good evening council, on

this item we would like to know when you’re going to stop pussyfooting around and handle this

Alton Sterling situation.”58 Scott Wilson immediately ordered him removed, “Johnny, take him

out.”59 As the officers approach, Mr. Reed continued “We ready for you to handle the Alton

Sterling situation.”60

         64.      Defendant Scott Wilson did not give Mr. Reed any verbal warning.61




57
   Plaintiff’s Ex. 16 (June 28, 2017 Agenda) at page 11.
58
   Plaintiffs’ Ex. 22 (Full Video of June 28, 2017, Item 56) at 00:29.
59
   Plaintiffs’ Ex. 22 at 00:33.
60
   Plaintiffs’ Ex. 22.
61
   Plaintiffs’ Ex. 22.


                                                          22
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         65.      Without any verbal warning, Defendant Scott Wilson directed that Mr. Reed be

removed from the podium and taken out of the room by police.62

         66. Mr. Reed was removed from the podium and taken out of the Meeting Room by

police.63

B.       The Mayor Pro-Tempore of the Metro Council Has Consistently Allowed People to
         Speak Far Off Agenda Topics – So Long as They Do Not Mention Alton Sterling or
         Criticize the Police.

         i.       On September 27, 2017, Scott Wilson allowed Phillip Lillard to speak for
                  more than a minute and a half, despite verbally recognizing that Mr. Lillard
                  was off-topic.

         67.      At a Metro-Council meeting on September 27, 2017, community-member Phillip

Lillard approached the podium to provide public comment. Defendant Scott Wilson was presiding

over the meeting at that time.64 Lillard approached the podium during discussion of Item 76. The

topic of Item 76 was:

         Amend the 2017 allotment of positions for the City of Baton Rouge and Parish of East
         Baton Rouge, adopted by Ordinance #16404, dated 12/13/2016, so as to change the
         allotment of the Office of Community Development as follows, effective September 30,
         2017, contingent upon execution of interagency professional service contracts.65

         68.      The screengrab below from Plaintiff’s Exhibit 23, the video of the September 27,

2017 meeting, shows Mr. Lillard standing at the podium:




62
   Plaintiffs’ Ex. 22.
63
   Plaintiffs’ Ex. 22.
64
   Plaintiffs’ Ex. 23 (Full Video of Sept. 27, 2017, Item 76) at 0:19 (identifying Scott Wilson).
65
   Plaintiffs’ Ex. 17 (Sept. 27, 2017 Agenda) at page 11.


                                                          23
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         69.      Mr. Lillard began his comment with “I didn’t get to finish before. I would really

like for y’all to reconsider the one that you just voted on and vote against it.”66 He then began to

speak about the RDA and train stations. Defendant Scott Wilson interrupted Mr. Lillard, and

directed him to speak on topic, saying “I understand, but we’re talking about the deleting of these

jobs. That’s what we’re talking about, Number 76. We’re not talking about train stations. RDA

will come up in Item 78. Well, I’m sorry, that’s Item 78. We’re on Item 76.”67

         70.      Mr. Lillard responded “Well, I’m against Item 76, okay, and I wish y’all would

reconsider the other item. I’m against Item 76 because the other item shouldn’t have passed,

okay.”68 Mr. Lillard continued to speak about the RDA and train stations. Mr. Wilson interjected

again, “Mr. Lillard, I’m going to ask you one more time to speak on Item 76, or you can please sit




66
   Plaintiffs’ Ex. 23 (Full Video of Sept. 27, 2017, Item 76) at 0:30.
67
   Plaintiffs’ Ex. 23 at 0:30.
68
   Plaintiffs’ Ex. 23.


                                                           24
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down.”69 Mr. Lillard made a final comment about asking the council to reconsider, and then sat

down.70

         71.      Mr. Lillard was speaking off the agenda item topic.71 But he was not criticizing the

Baton Rouge Police Department or mentioning Alton Sterling.72

         72.      Defendant Scott Wilson explicitly understood Mr. Lillard to be speaking off-topic,

and two times directed him to speak on topic.73

         73.      But even though Mr. Lillard refused to speak on-topic, Defendant Scott Wilson

allowed him to speak for more than a minute and a half.74 At no point did Defendant Scott Wilson

direct that Mr. Lillard be taken away from the podium by police.75 At no point did Defendant Scott

Wilson direct that Mr. Lillard be taken out of the room by police.76

ii.      On June 14, 2017, Scott Wilson allowed Janice Weber to speak over him and to finish
         delivering her comment despite verbally recognizing that Mrs. Weber was off-topic.

         74.      At a Metro-Council meeting on June 14, 2017, community-member Janice Weber

approached the podium to provide public comment. Defendant Scott Wilson was presiding over

the meeting at the time.77 Mrs. Weber approached the podium during discussion of Item 66. The

topic of Item 66 was:

         Authorizing the Mayor-President to execute a Cooperative Endeavor Agreement
         with the East Baton Rouge Parish Council on Ageing, Inc. to govern the rights and
         duties of the parties with respect to the funds generated by the ad valorem tax
         approved by East Baton Rouge Parish voters on November 8, 2016. By Parish
         Attorney.78


69
   Plaintiffs’ Ex. 23.
70
   Plaintiffs’ Ex. 23.
71
   Compare Plaintiffs’ Ex. 17 (Sept. 27, 2017 Agenda) at page 11, with Plaintiff’s Ex. 9.
72
   Plaintiffs’ Ex. 23.
73
   Plaintiffs’ Ex. 23.
74
   Plaintiffs’ Ex. 23.
75
   Plaintiffs’ Ex. 23.
76
   Plaintiffs’ Ex. 23.
77
   Plaintiffs’ Ex. 24 (Full Video of June 14, 2017, Item 66).
78
   Plaintiffs’ Ex. 18 (June 14, 2017 Agenda) at page 9.


                                                         25
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         75.      The screengrab below from Plaintiffs’ Exhibit 24, the video of the June 14, 2017

meeting, shows Mrs. Weber standing at the podium:




         76.      Mrs. Weber began her comment with, “I did pay attention to the millage

information when it came out and I went to the polls and I voted.”79 Mrs. Weber continues

speaking on the millage for 20 seconds before Defendant Scott Wilson gently interrupts Mrs.

Weber and explains the millage is the next item, “Don’t let me interrupt you but this is for the

CEA. The next item will be for the tax, so if you wanna talk on the tax…”80 Mrs. Weber begins

talking over Mr. Wilson and asks a question about the CEA, and Mr. Wilson allows her to finish.81

         77.      Mrs. Weber was speaking off the agenda item topic.82 But he was not criticizing

the Baton Rouge Police Department or mentioning Alton Sterling.83




79
   Plaintiffs’ Ex. 24 (Full Video of June 14, 2017, Item 66) at 00:02:08.
80
   Plaintiffs’ Ex. 24 at 2:29.
81
   Plaintiffs’ Ex.24.
82
   Compare Plaintiff’s Ex. 18 (June 14, 2017 Agenda) at page 9, with Plaintiff’s Ex. 24.
83
   Plaintiff’s Ex. 24.


                                                         26
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         78.      Defendant Scott Wilson explicitly understood Mrs. Weber to be speaking off-topic,

but politely told Mrs. Weber he did not mean to interrupt her comment on the tax and merely

suggested that the tax would be the next item for comment.84

         79.      Even though Mrs. Weber spoke over Defendant Scott Wilson, he allowed her to

continue speaking.85 At no point did Defendant Scott Wilson direct that Mrs. Weber be taken away

from the podium by police.86 At no point did Defendant Scott Wilson direct that Mrs. Weber be

taken out of the room by police.87

iii.     On June 14, 2017, after Scott Wilson warned Janice Weber that she was speaking off
         topic, Mr. Wilson allowed the next speaker, Dan Weber, to speak on the same topic
         as Janice Weber for nearly a full minute without any warning.

         80.      At a Metro-Council meeting on June 14, 2017, community-member Dan Weber

approached the podium to provide public comment. Defendant Scott Wilson was presiding over

the meeting at the time.88 Mr. Weber approached the podium, directly after community-member

Jan Weber, during discussion of Item 66.89 The topic of Item 66 was:

         Authorizing the Mayor-President to execute a Cooperative Endeavor Agreement with the
         East Baton Rouge Parish Council on Ageing, Inc. to govern the rights and duties of the
         parties with respect to the funds generated by the ad valorem tax approved by East Baton
         Rouge Parish voters on November 8, 2016. By Parish Attorney.90

         81.      The screengrab below from Plantiffs’ Exhibit 24, the video of the June 14, 2017

meeting, shows Mr. Weber standing at the podium:




84
   Plaintiffs’ Ex. 24.
85
   Plaintiffs’ Ex. 24.
86
   Plaintiffs’ Ex. 24.
87
   Plaintiffs’ Ex. 24.
88
   Plaintiff’s Ex. 24 (Full Video of June 14, 2017, Item 66).
89
   Plaintiff’s Ex. 24 (Full Video of June 14, 2017, Item 66) at 00:03:19.
90
   Plaintiff’s Ex. 18 (June 14, 2017 Agenda) at page 9.


                                                          27
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         82.      Dan Weber began his comment with, “My concern if we sign this agreement that

we have responsible people running the council, and if you go into the numbers…” 91 Defendant

Scott Wilson allows Mr. Weber to speak for nearly a full minute about salaries, wages, travel, and

amounts spent on food before interrupting him, “I’m sorry but this is really about the CEA. Our

next item will be about the tax. If you wanna bring up about those numbers. You can come back…

Ladies and gentlemen this is a public hearing I want you to speak on this item.”92

         83.      Mr. Weber was speaking off the agenda item topic.93 But he was not criticizing the

Baton Rouge Police Department or mentioning Alton Sterling.94

         84.      Defendant Scott Wilson explicitly understood Mr. Weber to be speaking off-topic,

but apologized for interrupting Mr. Weber’s comment and directed Mr. Weber to come back to

speak on the next item.95




91
   Plaintiffs’ Ex. 24 (Full Video of June 14, 2017, Item 66) at 00:03:25.
92
   Plaintiffs’ Ex. 24 at 4:17.
93
   Compare Plaintiffs’ Ex. 18 (June 14, 2017 Agenda) at page 9, with Plaintiffs’ Ex. 24.
94
   Plaintiffs’ Ex. 24.
95
   Plaintiffs’ Ex. 24.


                                                         28
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         85.      Even though, immediately prior to Mr. Weber approaching the podium, Defendant

Scott Wilson had just explained that such comments should be directed to the next agenda item,

Scott Wilson allowed Mr. Weber to speak off-topic for nearly a full minute.96 At no point did

Defendant Scott Wilson direct that Mr. Weber be taken away from the podium by police.97 At no

point did Defendant Scott Wilson direct that Mr. Weber be taken out of the room by police.98

iv.      On August 23, 2017 Scott Wilson allowed Don Ortega to speak for nearly three
         minutes despite verbally recognizing that Mr. Ortega was off-topic.

         86.      At a Metro-Council meeting on August 23, 2017, community-member Don Ortega

approached the podium to provide public comment. Defendant Scott Wilson was presiding over

the meeting at the time.99 Mr. Ortega approached the podium during discussion of Item 139. The

topic of Item 139 was:

         Expressing the opposition of the Metropolitan Council to the proposal by BREC
         staff to move the Baton Rouge Zoo from its location on Thomas Road in East Baton
         Rouge Parish. By Councilwoman Banks

         Reason for emergency: The BREC Commission meets on August 24th to consider
         an item that would allow the BREC Superintendent to explore properties as a new
         site for the zoo. In order for this resolution to be forwarded to the Commission
         before its vote, it must be voted on by the Metro Council on August 23rd.100

         87.      The screengrab below from Plaintiffs’ Exhibit 25, the video of the August 23, 2017

meeting, Item 139, shows Mr. Ortega standing at the podium:




96
   Plaintiffs’ Ex. 24.
97
   Plaintiffs’ Ex. 24.
98
   Plaintiffs’ Ex. 24.
99
   Plaintiffs’ Ex. 25 (Full Video of August 23, 2017, Item 139).
100
    Plaintiffs’ Ex. 19 (August 23, 2017 Agenda) at page 25.


                                                         29
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        88.      Don Ortega began his comment with, “I come to you today hopefully this is a

simple unanimous vote sending a message to BREC…”101 Mr. Ortega goes on to air particular

grievances he has as a former employee of BREC. Defendant Scott Wilson allowed Mr. Ortega to

speak on his personal experiences with BREC for 43 seconds before interrupting to request that

Mr. Ortega “talk about the item of the zoo.”102 After Mr. Wilson warns Mr. Ortega a second time,

Mr. Ortega is allowed to continue for a full minute and a half, “they’ve already decided what they

want to do with the zoo…”103 Mr. Ortega continues complaining about BREC’s “history of doing

things” and tangentially mentions the zoo.104

        89.      Mr. Ortega was speaking off the agenda item topic.105 But he was not criticizing

the Baton Rouge Police Department or mentioning Alton Sterling.106



101
    Plaintiff’s. 25 (Full Video of August 23, 2017, Item 139) at 00:01:08.
102
    Plaintiffs’ Ex. 25 at 1:52.
103
    Plaintiffs’ Ex. 25.. at 2:12.
104
    Plaintiffs’ Ex. 25.
105
    Compare Plaintiff’s Ex. 19 (August 23, 2017 Agenda) at page 25, with Plaintiff’s Ex. 25.
106
    Plaintiffs’ Ex. 25.


                                                        30
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         90.      Defendant Scott Wilson explicitly understood Mr. Ortega to be speaking off-topic

and gave Mr. Ortega two warnings over the course of two minutes and fifty-one seconds that Mr.

Ortega was at the podium.107

         91.      Even though Defendant Scott Wilson gave Mr. Ortega two warnings, he allowed

Mr. Ortega to continue airing his grievances regarding BREC, unrelated to the location of the zoo,

for a full minute and a half even after the second warning.108 At no point did Defendant Scott

Wilson direct that Mr. Ortega be taken away from the podium by police.109 At no point did

Defendant Scott Wilson direct that Mr. Ortega be taken out of the room by police.110

v.       On August 23, 2017 Scott Wilson allowed Russell Kelly to speak for an additional 25
         seconds after verbally recognizing that Mr. Kelly was off-topic.

         92.      At a Metro-Council meeting on August 23, 2017, community-member Russell

Kelly approached the podium to provide public comment. Defendant Scott Wilson was presiding

over the meeting at the time.111 Mr. Kelly approached the podium during discussion of Item 101.

The topic of Item 101 was:

         Expressing the support of the Metropolitan Council for the Investigation by the
         Louisiana Department of Justice into the July 5, 2016 shooting of Alton Sterling to
         be conducted and concluded as expeditiously a s possible.112

         93.      The screengrab below from Plaintiffs’ Exhibit 26, the video of the August 23, 2017

meeting, Item 101, shows Mr. Kelly standing at the podium:




107
    Plaintiffs’ Ex. 25.
108
    Plaintiffs’ Ex. 25.
109
    Plaintiffs’ Ex. 25.
110
    Plaintiffs’ Ex. 25.
111
    Plaintiffs’ Ex. 26 (Full Video of August 23, 2017, Item 101).
112
    Plaintiff’s Ex. 19 (August 23, 2017 Agenda) at page 16.


                                                          31
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        94.      Russell Kelly began his comment with, “What I wanna speak about is the efficiency

of this council on dealing with these types of matters. Is there any type of training? Are y’all just

put together? Or do y’all actually do any type of team training to help y’all understand and work

with each other? Let me tell ya a bit about team training….”113 Defendant Scott Wilson allowed

Mr. Kelly to speak about team training for approximately 22 seconds before directing Mr. Kelly

to speak on topic, “hold on we’re talking really about the attorney general…” 114 After this

interruption, Scott Wilson allows Mr. Kelly to continue talking about team training for

approximately another 25 seconds.115

        95.      Mr. Kelly was speaking off the agenda item topic.116 But he was not criticizing the

Baton Rouge Police Department or mentioning Alton Sterling.117



113
    Plaintiffs’ Ex. 26 (Full Video of August 23, 2017, Item 101) at 00:07:29.
114
    Plainitffs’ Ex. 26.
115
    Plaintiffs’ Ex. 26.
116
    Compare Plaintiff’s Ex. 19 (August 23, 2017 Agenda) at page 16, with Plaintiff’s Ex. 26.
117
    Plaintiffs’ Ex. 26.


                                                        32
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        96.      Defendant Scott Wilson explicitly understood Mr. Kelly to be speaking off-topic

and gave Mr. Kelly one verbal warning while Mr. Kelly was at the podium.118

        97.      Even though Defendant Scott Wilson warned Mr. Kelly, he allowed Mr. Kelly to

continue speaking about team training after this warning.119 At no point did Defendant Scott

Wilson direct that Mr. Kelly be taken away from the podium by police. 120 At no point did

Defendant Scott Wilson direct that Mr. Kelly be taken out of the room by police.121

vi.     On May 14, 2014, Jim Mora was allowed to read from a Dr. Suess book for two
        minutes and was not given a single warning.

        98.      At a Metro-Council meeting on May 14, 2014, community-member Jim Mora

approached the podium to provide public comment. Mayor Pro-Tempore Chandler Loupe was

presiding over the meeting at the time.122 Mr. Mora approached the podium during discussion of

Items 13Y & 13Z. The topic of Item 13Y & 13Z was:

        Y. Providing for the extension of the city limits of the City of Baton Rouge and the
        inclusion of the area described in the petition for annexation submitted by Our Lady
        of the Lake Hospital, Inc., Consisting of the Following Parcels . . .

        Z. Providing for the extension of the city limits of the City of Baton Rouge and the
        inclusion of the area described in the petition for annexation submitted by Mall of
        Louisiana, LLC; Mall of Louisiana Land, LLC; General Health System, Baton
        Rouge General Medical Center; and Level Ventures, LLC, consisting of the
        following parcels . . . .123

        99.      The screengrab below from Plaintiffs’ Exhibit 27, the video of the May 14, 2014

meeting, shows Mr. Mora standing at the podium:




118
    Plaintiffs’ Ex. 26.
119
    Plaintiffs’ Ex. 26.
120
    Plaintiffs’ Ex. 26.
121
    Plaintiffs’ Ex. 26.
122
    Plaintiff’s Ex. 27 (Excerpt of May 14, 2014, Item 13Y & 13Z) at 00:01(identifying Chandler Loupe).
123
    Plaintiffs’ Ex. 20 (May 14, 2014 Agenda, Item 13Y & 13Z) at pages 16-17.


                                                       33
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        100.     Jim Mora began his comment by stating that he would not give an opinion either

way on the Meeting Item and would instead use his two minutes to read from a book.124 Mr. Mora

proceeds to read from the book “Oh, the Places You’ll Go!” by Dr. Seuss. Mr. Mora was allowed

to proceed uninterrupted for the full two minutes.125

        101.     Mr. Mora was speaking off the agenda item topic.126 But he was not criticizing the

Baton Rouge Police Department or mentioning Alton Sterling.127

        102.     Mr. Mora was not given any verbal warnings while he was at the podium.128

        103.     Mr. Mora was allowed to speak and read from a Dr. Seuss book for a full two

minutes uninterrupted.129 At no point did Mayor Pro-Tempore Chandler Loupe direct that Mr.




124
    Plaintiffs’ Ex. 27 (Full Video of May 14, 2014, Item 13Y & 13Z) at 46:59
125
    Plaintiffs’ Ex. 27.
126
    Compare Plaintiff’s Ex. 20 (May 14, 2014 Agenda, Item 13Y & 13Z) at pages 16-17, with Plaintiff’s Ex. 27.
127
    Plaintiffs’ Ex. 27.
128
    Plaintiffs’ Ex. 27.
129
    Plaintiffs’ Ex. 27.


                                                       34
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Mora be taken away from the podium by police.130 At no point did Mayor Pro-Tempore Chandler

Loupe direct that Mr. Mora be taken out of the room by police.131

                                       IV.       CONCLUSIONS OF LAW

A.       Jurisdiction

         104.     Plaintiffs bring this action under 42 U.S.C. § 1983 to vindicate their rights

guaranteed by the First Amendment and Fourteenth Amendments to the United States

Constitution.

         105.     Defendant Scott Wilson does not contest jurisdiction.132 The Court therefore finds

that it has federal question jurisdiction pursuant to 28 U.S.C. § 1331.

B.       Plaintiffs proffer five theories of legal liability against Defendant Wilson, under the
         First and Fourteenth Amendments to the U.S. Constitution.

         106.     Plaintiffs proffer five theories of liability by which Defendant Wilson violated their

constitutional rights:

         A.       Defendant Wilson engaged in viewpoint discrimination when he expelled Plaintiffs
                  even though they were speaking on topic.

         B.       Even if Plaintiffs were off topic, Defendant Wilson engaged in viewpoint
                  discrimination when he expelled Plaintiffs and others who mentioned Alton
                  Sterling or criticized the police, but chose not to expel other off-topic persons who
                  did not mention Alton Sterling or criticize the police.

         C.       Even if it was permissible for Defendant Wilson remove Plaintiffs from the public
                  comment podium, Plaintiffs had an independent First Amendment right to remain
                  in the chamber and attend the meeting.

         D.       Defendant Wilson violated the doctrine of prior restraint when he ordered Eugene
                  Collins removed before Collins could speak.

         E.       Plaintiffs are Black, and Scott Wilson treated them differently than white speakers
                  on account of their race.


130
    Plaintiffs’ Ex. 27.
131
    Plaintiffs’ Ex. 27..
132
    R. Doc. 110 (Joint Proposed Pre-Trial Order) at Page 1.


                                                         35
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        107.     Theories A and B involve the doctrine of viewpoint discrimination in violation of

the First Amendment. As described below, it is “well settled that viewpoint discrimination is a

clearly established violation of the First Amendment in any forum.”133

        108.     Theory C involves the Plaintiffs’ “First Amendment right to attend a public

meeting.”134

        109.     Theory D involves the doctrine of prior restraint in violation of the First

Amendment.

        110.     Theory E involves the doctrine of equal protection as guaranteed by the Fourteenth

Amendment.

        C.       Viewpoint-based restrictions on speech “are per se violative of the First
                 Amendment.”

        111.     The First Amendment to the U.S. Constitution provides that “Congress shall make

no law . . . abridging the freedom of speech . . . .” The First Amendment is incorporated against

state actors by the Fourteenth Amendment and made actionable by 42 U.S.C. § 1983.

        112.     Under the First Amendment, it “is axiomatic that the government may not regulate

speech based on its substantive content or the message it conveys.”135 To do so constitutes

viewpoint discrimination in violation of the First Amendment.

        113.     This principle was reaffirmed this year by the U.S. Supreme Court: “Above ‘all

else, the First Amendment means that government’ generally ‘has no power to restrict expression

because of its message, its ideas, its subject matter, or its content.’”136




133
    Chiu v. Plano Independent School Dist., 260 F. 3d 330, 350 (5th 2001).
134
    Heaney v. Roberts, 147 F. Supp. 3d 600, fn. 10 (E.D. La. 2015).
135
    Chiu v. Plano Independent School Dist., 260 F. 3d 330, 350 (5th 2001), quoting Rosenberger v. Rector & Visitors
of Univ. of Va., 515 U.S. 819, 828 (1995).
136
    Barr v. American Assn. of Political Consultants, Inc., 591 U. S. ____ (2020), quoting Police Dept. of Chicago v.
Mosley, 408 U.S. 92, 95 (1972).


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        114.     As a result, “[v]iewpoint-based restrictions on speech are per se violative of the

First Amendment.”137 Viewpoint-based restrictions exist “when the specific motivating ideology

or the opinion or perspective of the speaker is the rationale for the restriction.”138

        115.     In terms of First Amendment analysis, a city or parish council meeting is a limited

public forum.139 In such a forum, the government may apply reasonable time, place, and manner

restrictions to speech, so long as the restriction “does not discriminate against speech on the basis

of viewpoint.”140 For example, a government body may require speakers during public comment

at a meeting to remain on-topic.141

        116.     But regardless of time, place, and manner restrictions, “is beyond debate that the

law prohibits viewpoint discrimination in a limited public forum.”142

        117.     In a meeting with an on-topic rule, on-topic speech is treated as if it were in a

traditional public forum, and any restriction is subject to strict scrutiny.143 Off-topic speech at

such a meeting receives less protection, but still cannot be subject to viewpoint discrimination.

        118.     Thus, a public body is permitted to have a “stay on topic” rule for public comment

– but under no circumstances can it selectively enforce that rule in a manner that constitutes

viewpoint discrimination.



137
    Heaney v. Roberts, 147 F. Supp. 3d 600, fn. 4 (E.D. La., Dec. 2, 2015), affirmed in Heaney v. Roberts, 846 F. 3d
795 (5th Cir. 2017).
138
    Heaney v. Roberts, 846 F. 3d 795, 802 (5th Cir. 2017). .
139
    Heaney v. Roberts, 147 F. Supp. 3d 600, 605 (E.D. La., Dec. 2, 2015) (“A city council meeting is generally
recognized to be a ‘limited public forum,’ which means that the government does not have to allow persons to
engage in every type of speech.”), citing Fairchild v. Liberty Indep. Sch. Dist., 597 F.3d 747, 759 (5th Cir. 2010),
affirmed in Heaney v. Roberts, 846 F. 3d 795, 801 (5th Cir. 2017) (applying limited public forum analysis to
Jefferson Parish Council meeting). See Chiu v. Plano Independent School Dist., 260 F. 3d 330, 334 (5th 2001) for an
in-depth discussion of the “tripartite forum-based framework to analyze First Amendment issues involving
governmentally owned property.”
140
    Heaney, 846 F. 3d at 801-802.
141
    Chiu v. Plano Independent School Dist., 260 F. 3d 330, 354-355 (5th 2001).
142
    Heaney v. Roberts, 846 F. 3d 795, 802 (5th Cir. 2017), citing Good News Club v. Milford Cent. Sch., 533 U.S.
98, 106, 121 S.Ct. 2093, 150 L.Ed.2d 151 (2001).
143
    Id. at 347.


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         119.     And so although a council chair has the power to enforce neutral restrictions on

speech to keep a meeting on track, “[i]t is beyond debate that the law prohibits viewpoint

discrimination” in such a context.144 It is “well settled that viewpoint discrimination is a clearly

established violation of the First Amendment in any forum.”145

         120.     This is true even in a crisis, because there “are certain constitutional red lines that

a State may not cross even in a crisis. Those red lines include racial discrimination, religious

discrimination, and content-based suppression of speech.”146

         121.     And when a government agent restricts speech that is political in nature, judicial

scrutiny must be even more exacting.147 That is because “activities such as speaking, distributing

literature, displaying signs, petitioning for change, and disseminating information concerning

issues of public concern are central to the protections of the First Amendment.”148

         122.     Thus, Defendant is completely correct when he argues that the topic restrictions of

the Louisiana Open Meetings Law and Section 1.7(a) of the Baton Rouge Code of Ordinances are

on their face proper. But that assertion is not responsive to Plaintiffs’ claims, because Plaintiffs

are not raising a facial challenge to those rules. Plaintiffs are raising an as-applied challenge,

because government agents may only enforce topic rules in a manner “consistent with the First




144
    Heaney v. Roberts, 846 F. 3d 795, 801 (5th Cir. 2017).
145
    Chiu, supra, 260 F.3d at 350. See also Hobbs v. Hawkins, 968 F.2d 471, 481 (5th Cir.1992) ("[V]iewpoint
discrimination violates the First Amendment regardless of the forum's classification.").
146
    Calvary Chapel Dayton Valley v. Sisolak, 591 U.S. ____ (2020), Kavanaugh, J., dissenting from denial of
application for injunctive relief.
147
    Barr v. American Assn. of Political Consultants, Inc., 591 U. S. ____ (2020), Breyer, J., concurring in judgment,
citing Buckley v. American Constitutional Law Foundation, Inc., 525 U. S. 182, 186–187 (1999) (heightened
protection for “core political speech”); Rosenberger v. Rector and Visitors of Univ. of Va., 515 U. S. 819, 829–830
(1995) (government discrimination on basis of “particular views taken by speakers on a subject” presumptively
unconstitutional); Boos v. Barry, 485 U. S. 312, 321 (1988) (“content-based restriction[s] on political speech in a
public forum” subject to “most exacting scrutiny” (emphasis deleted)); Perry Ed. Assn. v. Perry Local Educators’
Assn., 460 U. S. 37, 45–46 (1983) (content-based exclusions in public forums subject to strict scrutiny).
148
    Chiu v. Plano Independent School Dist., 260 F. 3d 330, 334 (5th Cir. 2001)


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Amendment.”149 Specifically, the “government cannot under any circumstances . . . restrict

speech based on viewpoint” – regardless of whether the government has facially neutral topic

rules.150

         123.     Thus, the “pivotal question” in this case is Mr. Wilson’s motive in expelling

Plaintiffs. If he was motivated to expel Plaintiffs due to the “opinion or perspective of the speaker,”

then “he violated [plaintiff’s] clearly established First Amendment right to be free from viewpoint

discrimination in a limited public forum.”151

         124.     An improper motive may be inferred by when a council president expels some

people for speaking off-topic, but not others. As the court in Heaney v. Roberts explained:

         For instance, if Heaney had wanted to address the council about parking meters in
         Orleans Parish, Roberts could have validly prohibited him from doing so because
         such a topic would be wholly off-subject and beyond the scope of the Jefferson
         Parish Council's business and control. A content-based restriction of this nature
         surely could pass muster under the appropriate level of scrutiny. And assuming that
         all other speakers were likewise prohibited from speaking about parking meters in
         Orleans Parish, the restriction would not be viewpoint-based.152

         125.     In sum, as the Fifth Circuit in Heaney concluded, it is “beyond cavil” that a

reasonable chair of council meeting “would have known that it would be impermissible under the

First Amendment to prevent [a person] from speaking and to eject him from the meeting based on

the message he was conveying.”153




149
    Heaney v. Roberts, 147 F. Supp. 3d 600, 605 (E.D. La., Dec. 2, 2015), affirmed in Heaney v. Roberts, 846 F. 3d
795 (5th Cir. 2017).
150
    Id. (emphasis added).
151
    Heaney v. Roberts, 846 F. 3d 795, 802-803 (5th Cir. 2017).
152
    Heaney v. Roberts, 147 F. Supp. 3d 600 at fn. 4 (E.D. La., Dec. 2, 2015), affirmed in Heaney v. Roberts, 846 F.
3d 795 (5th Cir. 2017).
153
    Heaney v. Roberts, 846 F. 3d 795 (5th Cir. 2017); see also Chiu, supra, 260 F.3d at 350 (“It is well settled that
viewpoint discrimination is a clearly established violation of the First Amendment in any forum.”)


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D.         Here, Defendant Wilson engaged in viewpoint discrimination when he expelled
           Plaintiffs even though they were speaking on topic.

           126.     Scott Wilson ordered police to remove six citizens from the May 10, 2017 Metro

Council meeting, and one from the June 28, 2017 meeting.

           127.     All had something in common: they were there to talk about the police killing of

Alton Sterling and their criticism of the Baton Rouge Police Department.

           128.     Mr. Wilson ordered the police to remove these seven citizens after they said the

words “Alton Sterling,” or criticized the police – or if Mr. Wilson thought they were going to talk

about one of those topics.

           129.     Among those seven were the three Plaintiffs – Michael McClanahan, Eugene

Collins, and Gary Chambers.

           130.     Two of the Plaintiffs (McClanahan and Chambers) spoke on topics of city business

that were not directly related to Alton Sterling or the police.

           131.     But McClanahan and Chambers were nevertheless on-topic, because it was their

viewpoint that the Baton Rouge government should not return to business-as-usual without first

resolving how to respond to the killing of Alton Sterling. Plaintiff McClanahan made this explicit,

saying “I oppose the sewer item because on July the fifth, 2016, Alton Sterling was killed and your

office continued to conduct business as usual. Since that time, the City of Baton Rouge has

continued to conduct business – and I oppose this because that is not right.”154

           132.     In this, they were expressing the same theory of being on-topic as Philip Lillard,

who said “I’m against Item 76 because the other item shouldn’t have passed, okay.”155 But Scott




154
      Defendants’ Ex. 2.
155
      Plaintiffs’ Ex.23.


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Wilson allowed Lillard to continue speaking, and ordered police to remove McClanahan and

Chambers.

         133.     Eugene Collins, however, was even more specifically on-topic. He spoke during

Agenda Item 60. The topic of that item was: “Expressing the opposition of the Metropolitan

Council to House Bill 276 filed in the 2017 Session while under officer involved incident

investigations.”

         134.     Agenda Item 60 was directly related to the Alton Sterling killing, because the Alton

Sterling killing was the “driving force” behind House Bill 276.156 The bill specified how long

police officers would have to hire an attorney before they are questioned for an incident involving

shooting and seriously injuring or killing someone. It had originally contained a provision about

how long an officer should be paid and not paid while on administrative leave for a shooting – a

issue of community concern about the officers involved in the killing of Alton Sterling.

         135.     Thus, Collins approaching the podium to speak about Alton Sterling was directly

on-topic.

         136.     In limited public forum with an on-topic rule, any restriction on on-topic speech is

subject to strict scrutiny.157 Under the strict scrutiny standard, “the Government [must] prove that

the restriction furthers a compelling interest and is narrowly tailored to achieve that interest.”158

Specifically, the “State must demonstrate compelling reasons for restricting access to a single class




156
    Julia O’Donoghue, Alton Sterling shooting prompts new policing bills in Louisiana House, Times Picayune,
April 27, 2017.
157
    Id. at 347.
158
    Reagan Nat'l Advert. of Austin, Inc. v. City of Austin (5th Cir. 2020), citing Reed v. Town of Gilbert, 576 U.S.
155, 171 (2015).


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of speakers, a single viewpoint, or a single subject.”159 Strict scrutiny is “a hard standard to meet”

and “leads to almost certain legal condemnation.”160

         137.     Here, Defendant has demonstrated no compelling reason for restricting Plaintiffs’

speech. At most, Plaintiffs would have finished their public comment period – for a grand total of

nine minutes of speech. Avoiding nine minutes of speech cannot be such a compelling interest to

clear the extremely high bar of strict scrutiny. Nor was Scott Wilson’s remedy – ordering them

removed by police from the meeting room – narrowly tailored. He could have asked them to

“please sit down,” as he did with Philip Lillard.161 Or he could have asked police to escort them

back to their seats, rather than removing them entirely from the meeting hall.

         138.     Thus, because Plaintiffs were speaking on-topic and because Defendant Wilson has

not demonstrated the compelling interest and narrow tailoring necessary to clear strict scrutiny,

judgment is granted on Plaintiffs’ First Amendment claim.

E.       Here, even if Plaintiffs were off-topic, Defendant Wilson engaged in viewpoint
         discrimination, because he expelled Plaintiffs but not other off-topic persons.

         139.     Even if a person is speaking off-topic in a limited public forum, his or her speech

still may not be restricted due to viewpoint discrimination.

         140.     Viewpoint discrimination may be inferred from the differential treatment of off-

topic speakers who speak from different viewpoints. As the court in Heaney v. Roberts

explained: “For instance, if Heaney had wanted to address the council about parking meters in

Orleans Parish, Roberts could have validly prohibited him from doing so because such a topic

would be wholly off-subject and beyond the scope of the Jefferson Parish Council's business and


159
    Perry Ed. Assn. v. Perry Local Educators' Assn., 460 US 37, 55 (1983).
160
    Reagan Nat'l Advert. of Austin, Inc. v. City of Austin (5th Cir. 2020), citing Williams-Yulee v. Florida Bar, 575
U.S. 433, 444 (2015); Reed, 576 U.S. at 176 (Breyer, J., concurring) (explaining that strict scrutiny leads to almost
certain legal condemnation).
161
    Plaintiffs’ Ex. 23.


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control. . . . And assuming that all other speakers were likewise prohibited from speaking about

parking meters in Orleans Parish, the restriction would not be viewpoint-based.162

         141.     Here, all three Plaintiff’s speech was restricted when Defendant Scott Wilson

ordered them removed from the meeting room by police.

         142.     Defendant Wilson offers two viewpoint-neutral explanations for his actions, neither

of which is supported by the evidence.

         143.     First, he argues that that he was merely enforcing Section 1.7(a) of the Baton Rouge

Code of Ordinances, which requires that speakers remain on-topic during public comment.

         144.     But the evidence produced at trial shows that Scott Wilson did not treat other off-

topic speakers the way he treated Plaintiffs or the four other persons he ordered removed. When

people spoke off-topic but did not mention Alton Sterling or criticize the police, Mr. Wilson treated

them with solicitude and attempted to gently guide them back to the topic at hand. For example,

when Ms. Weber spoke explicitly off topic, Mr. Wilson responded by saying “Don’t let me

interrupt you but this is for the CEA. The next item will be for the tax, so if you want to talk on

the tax…”163 Or with Mr. Weber, he said “I’m sorry but this is really about the CEA. Our next

item will be about the tax. If you want to bring up about those numbers. You can come back.” 164

         145.     Plaintiffs at trial showed videos of six explicitly off-topic public commenters who

were allowed to continue speaking without the Mayor Pro-Tem ordering police to remove them.

One speaker even read a Dr. Suess book cover-to-cover without interruption.

         146.     By contrast, Plaintiffs showed seven examples of speakers who mentioned Alton

Sterling or criticized the police and were immediately ordered removed by Scott Wilson.


162
    Heaney v. Roberts, 147 F. Supp. 3d 600 at fn. 4 (E.D. La., Dec. 2, 2015), affirmed in Heaney v. Roberts, 846 F.
3d 795 (5th Cir. 2017) (emphasis added).
163
    Plaintiffs’ Ex. 24 at 2:29.
164
    Plaintiffs’ Ex. 24 at 4:17.


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            147.     Defendant could not offer a single example of a person he ordered removed for

being off-topic who had not mentioned Alton Sterling or criticized the police.

            148.     Defendant Wilson’s alternative viewpoint-neutral explanation is that there was

something unique about May 10, 2017, in that he had received word that protesters were going to

“shut down” the City Council meeting.

            149.     But even if that supposed threat were a concern of his, once the meeting began he

would have realized that the protesters’ chosen method was merely utilize their right to provide

public comment – i.e., no true threat at all.

            150.     Furthermore, the evidence provided at trial shows that Wilson’s speech restrictions

were not unique to May 10, 2017. Six weeks later, on June 28, 2017, Wilson engaged in the same

behavior with speaker Arthur Reed. Within seconds of Mr. Reed mentioning “the Alton Sterling

situation” during public comment, Wilson ordered police to remove him from the room.165

Accordingly, Mr. Wilson’s argument that his behavior was a specific reaction to the unique context

of May 10, 2017, is unavailing.

            151.     Thus, even if Plaintiffs were speaking off-topic, judgment is granted on Plaintiffs’

First Amendment claim because the preponderance of the evidence demonstrates that Wilson

engaged in viewpoint discrimination.




165
      Plaintiffs’ Ex. 22 at 00:29.


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F.       Prior restraint always violates the First Amendment unless the harm arising from the
         restrained speech would be “both great and certain” and cannot be mitigated through
         “less intrusive measures.”

         152.      “Any system of prior restraints of expression comes to this Court bearing a heavy

presumption against its constitutional validity.”166 That is because prior restraint “has an

immediate and irreversible sanction. If it can be said that a threat of criminal or civil sanctions

after publication 'chills' speech, prior restraint 'freezes' it at least for the time."167 The “[t]he special

vice of a prior restraint is that communication will be suppressed . . . before an adequate

determination that it is unprotected by the First Amendment.”168

         153.      As the Supreme Court recognized in Davis:

         Even where questions of allegedly urgent national security, or competing
         constitutional interests, are concerned, we have imposed this “most extraordinary
         remed[y]” only where the evil that would result from the reportage is both great
         and certain and cannot be militated by less intrusive measures.169

         154.      Thus, prior restraint is only allowable when the harm arising from the prevented

      speech would be “both great and certain” and cannot be mitigated through “less intrusive

      measures.”

G.       Here, Defendant Wilson engaged in illegal prior restraint when he expelled Plaintiff
         Eugene Collins before Eugene Collins could speak.

         155.      Here, Defendant Wilson engaged in prior restraint when he ordered police to

remove Eugene Collins from the room after only 2.5 seconds – before Collins could even begin

his remarks. Wilson ordered Collins removed because of what Wilson thought Collins would say.




166
    CBS v. Davis, 510 U.S. 1315, 114 S.Ct. 912, 914, 127 L.Ed.2d 358 (1994); Bantam Books v. Sullivan, 372 U.S.
58, 70 (1963).
167
    CBS v. Davis, 510 U.S. 1315, 1317 (1994);
168
    Pittsburgh Press Co. v. Pittsburgh Commission on Human Relations, 413 U.S. 376, 390 (1973)
169
    CBS v. Davis, 510 U.S. 1315, 114 S.Ct. 912, 914, 127 L.Ed.2d 358 (1994)


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        156.     Wilson guessed that Collins would speak about Alton Sterling. But there would be

no “great and certain” harm from such speech, especially considering the topic Collins was

speaking on was directly related to the shooting of Alton Sterling.

        157.     And it is not the case that any hypothetical harm from Collins’ could not be

mitigated through “less intrusive measures.” All Wilson had to do was let Collins speak for three

minutes – and then Collins’ time would be over.

        158.     Three minutes of speech by a member of the public on a topic of public interest is

not a harm that exceeds the “urgent national security” harm contemplated in CBS v. Davis.

        159.     Therefore, Defendant Wilson violated Collins’ First Amendment right to be free of

prior restraint without adequate justification when he ordered Collins removed from the meeting.

H.      People have a First Amendment right to attend public meetings, independent of their
        right to free speech.

        160.     Citizens have a “First Amendment right to attend a public meeting.”170 A

government decision to exclude a speaker from a traditional or designated public forum is subject

to strict scrutiny.171 That is, the government may not exclude a person from a forum unless it is

“necessary to serve a compelling state interest and the exclusion is narrowly drawn to achieve that

interest.”172

        160.     As a result, it can be a separate and independent First Amendment violation when

a speaker at a meeting is removed not just from the podium, but from the meeting entirely. As the

court in Heaney explained, the “suggestion that the First Amendment violation began and ended




170
    Heaney v. Roberts, 147 F. Supp. 3d 600, fn. 10 (E.D. La. 2015), citing Laskowski v. Snyder, No. 05-502, 2007
WL 118535 (N.D.Ind. Jan. 10, 2007); Timmon v. Wood, 633 F.Supp.2d 453 (W.D.Mich.2008).
171
    Laskowski v. Snyder, No. 05-502, 2007 WL 118535 (N.D.Ind. Jan. 10, 2007), citing Ark. Educ. Telev. Comm'n v.
Forbes, 523 U.S. 666, 677 (1998).
172
    Cornelius v. NAACP Legal Def. Educ. Fund, Inc., 473 U.S. 788, 800 (1985), as cited in Laskowski v. Snyder, No.
05-502, 2007 WL 118535 (N.D.Ind. Jan. 10, 2007).


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with Heaney's speech would be ignoring the fact that as a citizen Heaney had a First Amendment

right to attend a public meeting.”173

I.       Here, Defendant Wilson violated Plaintiffs’ First Amendment right to attend public
         meetings by having them not only removed from the podium, but taken entirely out
         of the meeting space.

         161.     Here, Defendant Wilson ordered that Plaintiffs be removed not only from the public

comment podium, but the entire meeting room. As such, he restricted their First Amendment right

to attend the remainder of the public meeting. Such a restriction is only valid if it meets strict

scrutiny – a “a hard standard to meet” that “leads to almost certain legal condemnation.”174 Under

the strict scrutiny standard, “the Government [must] prove that the restriction furthers a compelling

interest and is narrowly tailored to achieve that interest.”175

         162.     Here, Defendant identified no compelling interest in removing Plaintiffs from the

meeting room. They had not been disruptive before their public comment, and there was no reason

they could not remain in the room. Nor was Defendant’s action narrowly tailored – he could have

asked them to return to their seat without police intervention (as he did with Mr. Lillard) and then

seen whether they would comply.

         163.     Therefore, Defendant Wilson violated Plaintiffs’ First Amendment right to attend

a public meeting when he ordered them removed from the room without passing the exacting test

of strict scrutiny.




173
    Heaney v. Roberts, 147 F. Supp. 3d 600, fn. 10 (E.D. La. 2015)
174
    Reagan Nat'l Advert. of Austin, Inc. v. City of Austin (5th Cir. 2020), citing Williams-Yulee v. Florida Bar, 575
U.S. 433, 444 (2015); Reed, 576 U.S. at 176 (Breyer, J., concurring) (explaining that strict scrutiny leads to almost
certain legal condemnation).
175
    Reagan Nat'l Advert. of Austin, Inc. v. City of Austin (5th Cir. 2020), citing Reed v. Town of Gilbert, 576 U.S.
155, 171 (2015).


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J.       Disparate treatment on the basis of race violates the equal protection guarantee
         Fourteenth Amendment unless it can meet strict scrutiny.

         164.     The Fourteenth Amendment to the United States Constitution bars the denial “to

any person . . . the equal protection of the laws.” As a result, local government actors cannot

discriminate on the basis of race without being subject to strict scrutiny.176

         165.     Under the strict scrutiny standard, “the Government [must] prove that the restriction

furthers a compelling interest and is narrowly tailored to achieve that interest.”177 Strict scrutiny is

“a hard standard to meet” and “leads to almost certain legal condemnation.”178

K.       Defendant Wilson engaged in race discrimination when he expelled Black speakers
         who criticized the police within seconds, but allowed white critics to speak for several
         minutes.

         166.     Here, Defendant Wilson treated off-topic commenters differently depending on the

viewpoint they were expressing. But within that group, it also appears that he discriminated on the

basis of race. Five Black people (McClanahan, Chambers, Collins, Epps, and Reed) who

mentioned Alton Sterling or criticized the police were removed almost immediately. All of them

were persons of color. Two white women, Coby Weaver and Lynne Espinoza also mentioned

Alton Sterling and criticized the police. Defendant Scott Wilson allowed Ms. Weaver to speak

significantly longer than the others. In fact, Scott Wilson only ordered Ms. Weaver removed after

she pointed out the racial disparity.




176
    See Loving v. Virginia, 388 US 1, 12 (1967) (“We have consistently denied the constitutionality of measures
which restrict the rights of citizens on account of race.”); Fisher v. Univ. of Tex. (Fisher II), 136 S. Ct. 2198, 2208
(2016) (“because racial characteristics so seldom provide a relevant basis for disparate treatment,” “[r]ace may not
be considered [by a university] unless [its] admissions process can withstand strict scrutiny.”)
177
    Reagan Nat'l Advert. of Austin, Inc. v. City of Austin (5th Cir. 2020), citing Reed v. Town of Gilbert, 576 U.S.
155, 171 (2015).
178
    Reagan Nat'l Advert. of Austin, Inc. v. City of Austin (5th Cir. 2020), citing Williams-Yulee v. Florida Bar, 575
U.S. 433, 444 (2015); Reed, 576 U.S. at 176 (Breyer, J., concurring) (explaining that strict scrutiny leads to almost
certain legal condemnation).


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       167.    At trial, Defendant Wilson offered no compelling interest justifying the differential

treatment based on race. He simply denied that there was any such difference. The video, however,

suggests beyond a preponderance of the evidence that there was differential treatment on the basis

of race. Accordingly, Plaintiffs’ 14th Amendment claim is granted.

V.     SUMMARY

       168.    This Court concludes as follows:

       169.    Because Plaintiffs restrict speech was on-topic and because Defendant Wilson has

not demonstrated the compelling interest and narrow tailoring necessary to clear strict scrutiny,

judgment is granted on Plaintiffs’ First Amendment claim.

       170.    Even if Plaintiffs were speaking off-topic, judgment is granted on Plaintiffs’ First

Amendment claim in the alternative because the preponderance of the evidence demonstrates that

Wilson engaged in viewpoint discrimination.

       171.    Judgment is granted on Eugene Collins First Amendment claim in the alternative

because the preponderance of the evidence shows that Defendant Wilson violated Collins’ First

Amendment right to be free of prior restraint without adequate justification.

       172.    Judgment is granted on Plaintiffs’ First Amendment claim because the

preponderance of the evidence shows that Defendant Wilson violated Plaintiffs’ right to attend a

public meeting when he ordered them removed from the room without passing the test of strict

scrutiny.

       173.    Judgment is granted on Plaintiffs’ 14th Amendment because the preponderance of

the evidence shows an unjustified pattern of differential treatment on the basis of race.




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                           Respectfully submitted,

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